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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

"Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA
v.

JONATHAN BROWN,

also known as “Tsunami,”

also known as “Nami,” |

Defendant.

The Grand Jury charges that:

CRIMINAL NO.
GRAND JURY ORIGINAL .

VIOLATIONS:

21 U.S.C. § 846

(Conspiracy to Distribute and Possess
with Intent to Distribute Cocaine Base
and Fentanyl) .

18 U.S.C. §§ 924(c)(1)(A) (iii)

(Using, Carrying, Possessing, and
Discharging a Firearm During and in
Furtherance of a Drug Trafficking
Offense or Crime of Violence)
18.U.S.C. § 922(g)(1)
(Unlawful Possession of Ammunition by a
Person Convicted of a Crime Punishable
by Imprisonment for a Term Exceeding
One Year)

22 D.C. Code § 4503(a)(1)

(Unlawful Possession of a Firearm

(Prior Conviction)) =

22 D.C. Code §§ 2103 and 4502

(Second Degree Murder While Armed)

22 D.C. Code § 4504(b)
(Possession of a Firearm During a Crime
of Violence or Dangerous Offense)

_ 22 D.C. Code §§ 404.01 and 4502

(Aggravated Assault While Armed)
22 D.C. Code § 402
(Assault With a Dangerous Weapon)

FORFEITURE: .
18 U.S.C. § 924(d); 21 U.S.C. § 853(p);
and 28 U.S.C. § 2461(c)

INDICTMENT
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* COUNT ONE

 

On or about Beginning on a date uncertain, but at least by July 1, 2021, and continuing
through at least May 25, 2022, within the District of Columbia and elsewhere, JONATHAN
BROWN, also known as “Tsunami,” also known as “Nami,” did knowingly and willfully
combine, conspire, confederate, and agree together and with other persons both known and
“unknown to the Grand hity, to unlawfully, knowingly and intentionally distribute and possess with
intent to distribute a mixture and substance containing a detectable amount of cocaine base, also
known as crack, a Schedule II narcotic drug controlled substatice, and a mixture and substance
containing a detectable amount of Fentanyl, a Schedule II narcotic drug controlled substance, in —
violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)( 1\(C).

(Conspiracy to Distribute and Possess with Intent to Distribute Cocaine Base and
Fentanyl, in violation of Title 21, United States Code, Section 846)

. COUNT TWO
On or about July 31, 2021, within the District of Columbia, JONATHAN BROWN, also
known as “Tsunami,” also known as “Nami,” did unlawfully and knowingly carry, use, and
discharge a firearm during and in relation to, and possess in furtherance of, a drug trafficking
offense for which he may be prosecuted ina court of the United States, that is Count One of this
Indictment which is incorporated herein.

(Using, Carrying, Possessing, and Discharging a Firearm During.and in Furtherance
of a Drug Trafficking Offense, in violation of Title 18, United States Code, Section

924(c)(1)(A)(iii)) - a

: COUNT THREE

On or about July 3 1, 2021, within the District of Columbia, JONATHAN BROWN, also

known as “Tsunami,”, also known as “Nami” knowing he had previously been convicted of

crimes punishable by imprisonment for a term exceeding one year, in the Superior Court for the
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District of Columbia, Criminal Case Nos. 2016-CF3-008250, 2013-CF2-008041, and 2012-CF2-
000197, did unlawfully and knowingly receive and possess ammunition, which had been
possessed, shipped and transported in and affecting interstate and foreign commerce.

(Unlawful Possession of Ammunition by a Person Convicted of a Crime Punishable

by Imprisonment for a Term Exceeding One Year, in violation of Title 18, United States
Code, Section 922(g)(1))

COUNT FOUR

On or about July 31, 2021, within the District of Columbia, JONATHAN BROWN, also.

known as “Tsunami,” also known as “Nami,” knowing he had previously been convicted in any

court of a crime punishable by imprisonment for a term exceeding one year, owned, kept, and had
within his possession and control, a firearm.

- (Unlawful Possession of a Firearm (Prior Conviction), in violation of Title 22, D.c.
Code, Section 4503(a)(1) (2001 ed.))

COUNT FIVE
On or about July 31, 2021, within the District of Columbia, JONATHAN BROWN, also
known as “Tsunami,” also known as “Nami,” while armed with a handgun, and with the intent
to kill another and to inflict serious bodily injury to another and with a conscious disregard of an.
" extreme risk of death or serious bodily injury: to another, caused the death of Kervin Sanches by
shooting him with a handgun, thereby causing injuries from which Kervin Sanches died on or
© about August 1, 2021.

(Second Degree Murder While Armed, in violation of Title 22, District of Columbia
- Code, Sections 2103 and 4502)

COUNT SIX
On or about July 31, 2021, within the District of Columbia, JONATHAN BROWN, also
known as “Tsunami,” also known as “Nami,” did possess a firearm while committing the crime

of Second-Degree Murder While Armed as set forth in the fifth count of this Indictment.
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(Possession of a Firearm During Crime of Violence or Dangerous Offense, in violation
of 22 D.C. Code, Section 4504(b) (2001 ed.))

COUNT SEVEN

On or about March 22, 2022, within the District of Columbia, JONATHAN BROWN,

also known as “Tsunami,” also known as. “Nami,” while armed with and having readily

available a firearm, did by any means, knowingly and purposely cause serious bodily injury to J.
B.

(Aggravated Assault While Armed, in violation of 22 D.C. Code, Section 404.01 and
4502 (2001 ed.)) |

COUNT EIGHT
On or about March 22, 2022, within the District of Columbia, JONATHAN BROWN,
also known as “Tsunami,” also known as “Nami,” did possess_a firearm while committing the
crime of Aggravated Assault While Armed as set forth in-Count Seven of this indictment.

(Possession of a Firearm During Crime of Violence or Dangerous Offense, i in violation
of 22 D.C. Code, Section 4504(b) (2001 ed. »

_ COUNT NINE
On or about March 22, 2022, within the District of Columbia, JONATHAN BROWN,
also known as “Tsunami,” also known as “Nami,” assaulted J. B. with a dangerous weapon,
that is, ¢ a firearm.

(Assault with a Dangerous Weapon, in violation of 22 D.C. Code, Section 402 (2001
ed.))

COUNT TEN
On or about March 22, 2022, within the District of Columbia, JONATHAN BROWN,
also known as “Tsunami,” also known as “Nami,” did possess a firearm while committing the .

crime of Assault With a Dangerous Weapon as set forth in Count Nine of this indictment. .
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(Possession of a Firearm During Crime of Violence or Dangerous Offense, in violation
of 22 D.C. Code, Section 4504(b) (2001 ed.))
FORFEITURE ALLEGATION

1. Upon conviction of the offense alleged in Count One of this Indictment, the
defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853 any property constituting,
or derived from, proceeds obtained, directly or indirectly, as a result of the said violations and any
property used, or intended to. be used, in any manner or part, to commit, or to facilitate the
commission of the said violations.

2. Upon conviction of the offense alleged in Counts Two, Three, and Five of this
Indictment, the defendant shall forfeit to the United States, pursuant to Title 18, United States
Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any firearms and.

. ammunition involved in or used in the knowing commission of the offense, including but not
limited to an .45 caliber ammunition.
3. If any of the property described above as being subject to forfeiture, as a result of
__ any act or omission of the defendant:
(a) cannot be located upon the exercise of due diligence;
(b) has been transferred or sold to, or deposited with, a third party;
(c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or
(e) has been commingled with other property. that cannot be subdivided without
difficulty;
the defendant shall forfeit to the United States any other property of the defendant, up to the

value of the property described above, pursuant to Title 21, United States Code, Section 853(p),
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as incorporated by Title 28, United States Code, Section 2461(c).

(Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
United States Code, Section 853(p), and Title 28, United States Code, Section 2461(c))

A TRUE BILL:

FOREPERSON.
Attorney of the United States [
and for the District of Columbia.
